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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO



 YAMILIZ RUIZ-CHAPARRO,
    Plaintiff,
                                                 CIV. NO. 16-1481 (MDM)
    v.

 JESSIE CORTES RAMOS,
 JUAN E. RODRIGUEZ-RODRIGUEZ and
 THE MUNICIPAL GOVERNMENT OF
 AGUADA,
    Defendants.


                             OPINION AND ORDER

         Plaintiff Yamiliz Ruiz Chaparro (“Plaintiff”) is a former employee of the
Municipality of Aguada (the “Municipality”) who brings this action against the
Municipality, its former Mayor, the Hon. Jessie Cortés, and the former Director of
Finance and Budget, Juan Rodríguez Rodríguez, (collectively “Defendants”).
Plaintiff lodges political discrimination claims pursuant to 42 U.S.C. § 1983, in
violation of the First Amendment of the U.S. Constitution and of Article II of the
Constitution of Puerto Rico, §§ 1, 2, 4, 6 and 7. (Docket No. 1).
         Presently before the Court are the Municipality’s Motion for Summary
Judgment (Docket No. 84), which co-defendants, the Hon. Jessie Cortés and Juan
Rodríguez, joined and supplemented to include qualified immunity arguments.
(Docket No. 87). Plaintiff opposed the Municipality’s Motion for Summary
Judgment (Docket No. 103) and the Municipality filed a Reply thereto. (Docket No
111). After reviewing the parties’ submissions and the pertinent case law, the
Court DENIES the Defendants’ motion for summary judgment.
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       I.      Standard of Review
       Summary judgment is appropriate when “the pleadings, depositions,
answers to interrogatories, and admissions on file, together with the affidavits, if
any, show that there is no genuine issue as to any material fact and that the
moving party is entitled to a judgment as a matter of law.” Celotex Corp. v. Catrett,
477 U.S. 317, 322 (1986); see Fed. R. Civ. P. 56(a). “An issue is genuine if ‘it may
reasonably be resolved in favor of either party’ at trial, . . . and material if it
‘possess[es] the capacity to sway the outcome of the litigation under the applicable
law.’” Iverson v. City of Boston, 452 F.3d 94, 98 (1st Cir.2006) (alteration in
original). If the court finds that some genuine factual issue remains, the resolution
of which could affect the outcome of the case, then the court must deny summary
judgment. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
       When considering a motion for summary judgment, the court must view the
evidence in the light most favorable to the nonmoving party and give that party
the benefit of all reasonable inferences. Id. at 255. Moreover, at the summary
judgment stage, the court does not make credibility determinations or weigh the
evidence. Id. Summary judgment may be appropriate, however, if the nonmoving
party’s case rests merely upon “conclusory allegations, improbable inferences, and
unsupported speculation.” Forestier Fradera v. Mun. of Mayaguez, 440 F.3d 17, 21
(1st Cir.2006) (quoting Benoit v. Technical Mfg. Corp., 331 F.3d 166, 173 (1st
Cir.2003)).
       II.     Relevant Factual Background
       The Municipality included 65 statements of uncontested material facts in
support of its Motion for Summary Judgment (“DSUMF”). (Docket No. 85). From
the proposed statements, Plaintiff admitted paragraphs 1, 2, 3, 6, 7, 8, 10, 13, 14,
15, 16, 17, 18, 19, 25, 29, 30, 31, 32, 33, 34, 35, 37, 39, 40, 43, 44, 45, 46, 47, 49, 54,
55, 56, 59, 63, and 64. (Docket No. 104). In addition to those statements, which
were all admitted by the Plaintiff, Paragraphs 4 and 42 of the DSUMF are deemed
admitted by the Court because Plaintiff’s qualification of those statements were
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not supported by a record citation as required by Local Rule 56. Paragraphs 9 and
20 of the DSUMF are also deemed admitted by the Court because Plaintiff’s
qualification of those statements and the record citation that was included by
Plaintiff to support the qualification did not contradict the proposed statements.
       Because most of Defendants’ proposed uncontested facts are based on
Plaintiff’s deposition testimony and Plaintiff’s responses qualifying or denying
DSUMF’s also rely on Plaintiff’s proffered testimony, the Court thoroughly
examined Plaintiff’s deposition transcript at Docket No. 85-1. After a thorough
review of the Parties’ proposed statements of uncontested facts, and their
respective responses thereto, the Court summarizes the relevant facts of the
present case as follows.
       Plaintiff began working for the Municipality in 1999 as an Accounting
Assistant. Plaintiff claims that she is an active member of the New Progressive
Party (“NPP”), that she has worked as a polling officer, and has participated in
motorcades and rallies for the NPP party.
       In 2012, the Hon. Jessie Cortés (“Mayor Cortés”) won the election for Mayor
of Aguada as a member of the Popular Democratic Party (“PDP”). He was sworn in
as Mayor in January 2013. Juan Rodríguez Rodríguez (“Rodríguez”) became
Plaintiff’s new supervisor. He held the position of Finance Director. At that time,
Plaintiff held the position of Accountant in the Municipality.
       Based on Plaintiff’s testimony during her deposition, at the beginning, the
relationship between Plaintiff and Rodríguez was a stable working relationship
and Plaintiff considered Rodríguez to be her friend. Plaintiff testified that
Rodríguez was an excellent person, that he treated her very well, and that he had
complete confidence in her. Plaintiff became Rodríguez’s “right hand man” and
attested that she was the most qualified person to run the Finance Department of
the Municipality. Plaintiff also attested that she was given more responsibilities
and supervisory duties because of her experience, knowledge, and years working
at the Municipality. Plaintiff was compensated for that additional work through
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the payment of a differential, which she continued to receive until she left the
Municipality.
       During Mayor Cortés’ administration, Plaintiff was promoted to the position
of Interim Accounting Supervisor. 1 While other municipal employees were affected
by a reduction in work hours, Plaintiff was not.
       In 2014, Plaintiff participated in the 2014 NPP primaries in support of NPP
candidate Manuel Gabina. She participated in party meetings, motorcades, rallies,
and was a poll worker.
       In July 2014, after the NPP primaries, Rodríguez asked Plaintiff if she had
participated in the 2014 NPP primaries. Plaintiff told him that she had. Plaintiff
testified in her deposition that during that conversation, she told Rodríguez that
she was an “NPP’er.” Rodríguez allegedly responded that he thought she had
switched political parties because she was helping them at the Municipality. Aside
from that comment, Rodríguez did not say anything else.
       Plaintiff attested that after that conversation, Rodríguez’ attitude towards
her changed negatively. Plaintiff testified that the working relationship between
them became tense, that it was no longer the “I need you” attitude, but rather, the
“I need you to do this attitude.” Plaintiff also testified that Rodríguez was rough
when talking to her and had a “comment for everything” “to make [her] feel bad.”
Plaintiff further testified during her deposition that Rodríguez would not talk to
her, but rather, would leave her instructions in writing on her desk.
       Regarding Rodríguez’s “negative” comments, during her deposition, Plaintiff
testified that, on one occasion, when discussing a case that the Comptroller was
reviewing, Rodríguez told her to fix the issue herself because it had nothing to do
with him. Plaintiff also attested that on another occasion, when discussing the
legality of a contract, Plaintiff told Rodríguez that the dates on the contract were


         1 Prior to Mayor Cortés’ administration, Plaintiff testified that she had the same

supervisory duties as she had once the Cortés administration took office; however, she did not hold
the “official” position of Accounting Supervisor and did not receive a differential payment.
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questionable and she refused to sign it. Plaintiff contends that Rodríguez
responded rudely that she should verify them and threw the documents on the
desk. On another occasion, Plaintiff testified that, as to her workload, Rodríguez
told her that if she had to take work home, then she would have to do that.
        Furthermore, Plaintiff testified that she was assigned more work and was
given additional duties, which overloaded her with work. In short, Plaintiff
testified that the Rodríguez she knew before completely changed after the
conversation she had with him about her participation in the 2014 NPP primaries.
Plaintiff contends that Rodríguez’ negative treatment continued until she
resigned. 2
        At one point, Plaintiff asked for help with her workload and the Municipality
assigned Cadmiel López, an accounting analyst, to assist the Plaintiff with her
duties. Plaintiff recognized during her deposition that the Municipality could not
afford to hire additional accountants to assist her.
        On October 28, 2015, Plaintiff presented her resignation from her position
as Interim Accounting Supervisor, effective November 1, 2015. (Docket No. 95-6).
In her letter of resignation, Plaintiff stated that she resigned from her position due
to “health reasons.” Id. In that same letter, Plaintiff also requested a transfer to
the Federal Funds Office. Id.
        On October 30, 2015, the Municipality, via letter signed by Mayor Cortés,
accepted Plaintiff’s resignation. (Docket No. 95-7). Mayor Cortés thanked Plaintiff
for accepting the challenge of the position of Interim Accounting Supervisor and
acknowledged that her health reasons are important and relevant. Id. Plaintiff’s
transfer request was then denied. The letter indicated that a transfer was not


        2 The Court notes that as part of Plaintiff’s allegations of workplace harassment, she claims

that, on one occasion, her pen drive was stolen, and her papers were thrown on the floor.
Nonetheless, Plaintiff admitted during her deposition that her pen drive was stolen by a co-worker
out of professional jealousy and that it was a personal matter, which proved not to involve the
Defendants. (DSUMF ¶ 33, 34 and 35.) Accordingly, based on those uncontested facts, any and all
allegations regarding the pen drive and related incidents shall be stricken and, therefore, Plaintiff
is prohibited from using such allegations against the Defendants in furtherance of her claims.
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possible because the Municipality was “in the middle of the transition process of
the accounting systems conversion” but that her request may be considered in the
future. Id.
       Plaintiff attested that, at some point thereafter, she went to talk to Mayor
Cortés to complain about how she felt regarding Rodríguez’ attitude towards her.
Plaintiff claims that Mayor Cortés told her that he knew she was a member of the
NPP and that he was not going to attack Rodríguez because he had proven himself
loyal to both him and the party (PDP). Plaintiff also testified that she went to talk
to Mayor Cortés to inquire as to why her transfer request was denied. Plaintiff
testified on one hand that Mayor Cortés responded that the Municipality was in
the process of a system change, and that they had not made any decisions. On the
other hand, however, Plaintiff also testified that Mayor Cortés told her that his
trustworthy staff had to be PDP. Plaintiff further attested that Mayor Cortés told
her that if she could not stand the pressure she should resign.
       Then, via letter dated November 3, 2015, Plaintiff presented her resignation
from her career position as Accounting Analyst. (Docket No. 95-8). Plaintiff
indicated that she resigned from that position due to health reasons.
       The Municipality, through Mayor Cortés, issued a letter accepting Plaintiff’s
(second) letter of resignation, which was for her career position. (Docket No. 95-9).
The Municipality thanked the Plaintiff for her services and cooperation and
accepted her resignation because the reasons she gave for resigning, namely,
health problems, “are very important and relevant.” Id.
       Regarding her resignation, Plaintiff attested that she resigned because she
had “too much of a burden,” “a lot of political burden,” and it was affecting her a
lot. She also attested that she drafted the letter of resignation “under brutal
anxiety,” which purportedly began after her conversation with Rodríguez about her
participation in the 2014 NPP primaries.
       After presenting her resignation, Plaintiff issued a letter, dated
November 5, 2015, where she requested reconsideration of her resignation from
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her career position. (Docket No. 95-10). Plaintiff indicated that she “rashly”
submitted her resignation from her career position and that she resigned because
of health issues and the “oppressive” workplace conditions that she experienced,
which began mid-2014. Id.
       On November 23, 2015, the Municipality, via Mayor Cortés, denied
Plaintiff’s request for reconsideration and stated that Plaintiff’s voluntary
resignation had been accepted effective on November 3, 2015. (Docket No. 95-9).
The letter also indicated that an employee had already been appointed to perform
the official duties of her position. Id. Josué Jiménez was appointed to the position
of Accounting Analyst. Plaintiff testified during her deposition that he is a member
of the PPD.
       III.    Discussion
               A.     A Prima Facie Case of Political Discrimination
       A prima facie political discrimination claim has four elements: “(1) that the
plaintiff and defendant have opposing political affiliations, (2) that the defendant
is aware of the plaintiff’s affiliation, (3) that an adverse employment action
occurred, and (4) that political affiliation was a substantial or motivating factor for
the adverse employment action.” Ocasio–Hernández v. Fortuño–Burset, 640 F.3d
1, 13 (1st Cir.2011) (quoting Lamboy–Ortiz v. Ortiz–Vélez, 630 F.3d 228, 239
(1st Cir.2010)). The fourth element has also been described as “sufficient evidence,
whether direct or circumstantial . . . that political affiliation was a substantial or
motivating factor . . . that the challenged employment action stemmed from
politically based animus.” González–de–Blasini v. Family Dept., 377 F.3d 81, 85-86
(1st Cir.2004).
       Because all reasonable inferences are drawn in the non-movant’s favor at
summary judgment, Padilla–García, 212 F.3d at 73, a defendant cannot win at
summary judgment unless the only reasonable interpretation of the evidence is
that the plaintiff would have been dismissed in any event for nondiscriminatory
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reasons. See Reyes-Orta v. Puerto Rico Highway & Transp. Auth., 811 F.3d 67,
73-74 (1st Cir.2016).
       In this case, the Defendants claim that Plaintiff falls short of establishing
various elements of a prima facie case of political discrimination. Defendant’s
position is that Plaintiff did not present “any” factual evidence that could lead to
the conclusion that she was “forced” to resign from her employment in the
Municipality because of political discrimination.
       The first element of Plaintiff’s political discrimination claim (the parties
having different political affiliations) is not disputed here, therefore, the second,
third, and fourth elements will be addressed in turn.
                      1.      Defendants’ Knowledge of Plaintiff’s Political Affiliation
       Defendants allege that Plaintiff merely infers that people in the
Municipality “should” have known that she was a member of the NPP party
because most of the municipal employees belonged to the NPP. (DSUMF #4.)
Defendants thus claim that Plaintiff “assumes” that Defendants knew that she was
a member of the NPP, but that she does not know whether Defendants, as a matter
of fact, knew that she was a member of the NPP.
       After reviewing the proposed uncontested material facts submitted by both
Parties, Defendants’ contention does not hold water. Here, Plaintiff set forth
sufficient evidence to reasonably infer that Defendants were aware of her political
affiliation. The proof that Defendants knew that Plaintiff was a member of the
NPP includes the following:
       Regarding co-defendant Rodríguez’ knowledge of Plaintiff’s political
affiliation, Plaintiff testified during her deposition that when Rodríguez asked her
if she had worked in the 2014 NPP primaries she responded that she did and that
she was a member of the NPP. Plaintiff also attested that Rodríguez told her that
he thought she had switched political parties because she had been helping the
Cortés administration (PDP) at the Municipality. Defendants did not offer any
evidence to contradict Plaintiff’s testimony. Given the above, Plaintiff has set forth
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sufficient evidence to sustain a finding that Rodríguez became aware of her
political affiliation after the July 2014 NPP primaries conversation with Plaintiff. 3
       As to Mayor Cortés’ knowledge of Plaintiff’s political affiliation, Plaintiff
proffered testimony during her deposition that in 2015, around the time that she
presented her resignation, she personally complained to Mayor Cortés about
Rodríguez. Plaintiff indicated that Mayor Cortés allegedly responded that he knew
she was a member of the NPP and he was not going to attack Rodríguez because
he had proven himself loyal to him and the party. (See Docket No. 85-1 at 104).
Plaintiff also attested that she went to talk to Mayor Cortés on another occasion
regarding the denial of her request for a transfer to a different position and that
Mayor Cortés told her that he could not assign her that position “because he needed
trustworthy people, and that his trustworthy staff had to be PDP.” (See Docket No.
85-1 at 79-80).
       The evidence on the record does not demonstrate, nor suggest in any way,
that Rodríguez discussed with Mayor Cortés Plaintiff’s political affiliation or
anything related to her employment at the Municipality. Plaintiff’s claims that
Mayor Cortés knew of her political affiliation hinge exclusively on her testimony.
Defendants categorically deny all allegations against Mayor Cortés, but
Defendants did not present an iota of evidence to contradict Plaintiff’s proffered
testimony. Given the above and viewing the evidence in the light most favorably
to Plaintiff, Plaintiff presented sufficient evidence for a trier of fact to infer that
Mayor Cortés knew Plaintiff’s political affiliation.
       Regarding the timing of Mayor Cortés alleged knowledge that Plaintiff was
a member of the NPP, the Court notes that the evidence on the record suggests


         3 Plaintiff did not, however, present any evidence that Defendants knew of her political

affiliation prior to Plaintiff’s conversation with Rodríguez regarding the NPP primaries in 2014,
which purportedly took place on July 2014. Plaintiff testified during her deposition that prior to
that conversation with Rodríguez, she only “assume[d]” that Rodríguez knew her political
affiliation. (See Docket No. 85-1 at 31). There is no evidence that at any time prior to July 2014,
besides her immediate co-workers, other employees in the Municipality, including Rodríguez and
Mayor Cortés, knew that Plaintiff was a member of the NPP. (See Docket No. 85-1 at 114).
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that Mayor Cortés allegedly became aware of Plaintiff’s political affiliation (at
some point) after July 2014—when Plaintiff had a conversation with Rodríguez
regarding her participation in the NPP primaries of 2014.
       Based on the foregoing, Plaintiff satisfied the second prong of the prima facie
case of political discrimination.
                      2.      Adverse Employment Action
                              a.        Constructive Discharge
       In this case, the bulk of Plaintiff’s discrimination claims hinge on her
assertion that she was subjected to an adverse employment action because
Defendants’ negative treatment “forced” her to resign from her two positions at the
Municipality, and, therefore, she was constructively discharged.
       When alleging constructive-discharge, the inquiry is objective: Did working
conditions become so intolerable that a reasonable person in the employee’s
position would have felt compelled to resign? Pennsylvania State Police v. Suders,
542 U.S. 129, 141 (2004). See C. Weirich et al., 2002 Cumulative Supplement to
Lindemann & Grossman 651-652, and n. 1 (collecting cases). Under the
constructive discharge doctrine, an employee’s reasonable decision to resign
because of unendurable working conditions is assimilated to a formal discharge for
remedial purposes. Suders, supra. See also 1 B. Lindemann & P. Grossman,
Employment Discrimination Law 838-839 (3d ed.1996). “The whole point of
allowing an employee to claim ‘constructive’ discharge is that in circumstances of
discrimination so intolerable that a reasonable person would resign, we treat the
employee’s resignation as though the employer actually fired him.” Green v.
Brennan, 136 S. Ct. 1769, 1779-80, (2016); Suders, supra at 141–143.
       To prove that she was constructively discharged, a plaintiff must show that
the new “working conditions imposed by the employer had become so onerous,
abusive, or unpleasant that a reasonable person in the employee’s position would
have felt compelled to resign.” Suarez v. Pueblo Intern., Inc., 229 F.3d 49, 54 (1st
Cir. 2000); see also Mercado-Alicea v. P.R. Tourism Co., 396 F.3d 46, 52 (1st Cir.
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2005); Aviles–Martínez v. Monroig, 963 F.3d 2, 6 (1st Cir. 1992) (citing Calhoun v.
Acme Cleveland Corp., 798 F.2d 559, 561 (1st Cir.1986)). The standard, however,
“cannot be triggered solely by the employee’s subjective beliefs, no matter how
sincerely held.” Marrero v. Goya of Puerto Rico, Inc., 304 F.3d 7, 28 (1st Cir. 2002);
Suarez v. Pueblo Int'l, Inc., 229 F.3d 49, 54 (1st Cir.2000); see also Calhoun v. Acme
Cleveland Corp., 798 F.2d 559, 561 (1st Cir.1986) (“[T]he law does not permit an
employee’s subjective perceptions to govern a claim of constructive discharge.”
(internal quotation marks omitted)).
       Further, “[t]o prove constructive discharge, the plaintiff must demonstrate
a greater severity or pervasiveness of harassment than the minimum required to
prove a hostile working environment.” Marrero, 304 F.3d at 28 (citing Landgraf v.
USI Film Prods., 968 F.2d 427, 430 (5th Cir.1992). Rather, the jury must find that
the working conditions were so unpleasant that “staying on the job while seeking
redress [would have been] intolerable.” Keeler v. Putnam Fid. Trust Co., 238 F.3d
5, 10 (1st Cir.2001).
       In the present case, to show an adverse employment action—in the form of
constructive discharge—a prerequisite to Plaintiff’s political discrimination claim,
Plaintiff must prove that the working environment became so intolerable that her
resignation qualified as a fitting response and that any reasonable person in her
shoes would have felt compelled to resign.
       Defendants maintain that Plaintiff failed to prove that an adverse
employment action was taken against her. Basically, Defendants aver that there
was no constructive discharge because Plaintiff voluntarily resigned from her
positions at the Municipality. Defendants also contend that Plaintiff testified
during    her deposition that she        resigned out     of anxiety—not       political
discrimination. Further, Defendants allege that no adverse employment action
took place because it is an uncontested fact that Plaintiff indicated in her letter of
resignation that she resigned because of “health reasons” and, therefore, her
failure to include political discrimination in her letter of resignation is fatal to her
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claims. The Court disagrees. Plaintiff’s failure to specifically indicate in her letter
of resignation that she was resigning due to political discrimination or political
pressure does not, in and of itself, preclude Plaintiff’s political discrimination
claims.
        In the present case, Plaintiff presented the following evidence to support her
allegation of constructive discharge. Plaintiff testified during her deposition that
Rodríguez’s attitude towards her changed dramatically after she told him that she
participated in the 2014 NPP primaries and, in turn, of her association with the
NPP party. Plaintiff also stated that after that conversation: (1) the working
relationship with Rodríguez became tense, that it was no longer the “I need you”
attitude, but rather, the “I need you to do this attitude.” (Docket No. 85-1 at 17,
31); (2) Rodríguez became rude and began to have a “comment for everything” and
“everything had a comment to make [Plaintiff] feel bad.” Id. at 35; (3) Rodríguez
would not talk to Plaintiff, he would leave her instructions in writing at her desk.
Id. at 102; and (4) she was assigned more work and was given additional duties. 4
        Plaintiff further identified during her deposition three specific comments
that Rodríguez made after he learned she was an “NPP’er:” (1) when discussing a
case that the Comptroller was reviewing, Rodríguez told her to “fix it [herself]
because this has nothing to do with me.” (See Docket No. 85-1 at 37); (2) regarding



        4  There are genuine issues of fact regarding this fourth claim by Plaintiff. A review of
Plaintiff’s deposition reveals contradictory testimony regarding the timing of the alleged increase
in her workload and responsibilities. It is unclear whether the alleged increase in her workload and
added responsibilities occurred before Defendants learned of Plaintiff’s political affiliation—before
July 2014—and, therefore, was not politically motivated. For example, Plaintiff proffered testimony
that she felt an increase in workload after the change in administration, which occurred in January
2013. (See Docket No. 85-1 at 42-43). She also testified that her workload increased because she
was the most knowledgeable person in the Finance Department and she had the most experience.
Id. at 43. Furthermore, Plaintiff testified that with the change of administration (in January 2013),
there was a change in personnel and that new workers would not contribute the maximum effort
to their jobs and the workload fell on her. Id. Accordingly, based on Plaintiff’s own testimony, there
are issues of fact as to whether Plaintiff’s alleged assignation of additional duties was, indeed,
politically motivated and, therefore, could support her claims of political discrimination. If the
workload increase occurred before July 2014 and was just part of her role as supervisor, then
Plaintiff could not use such allegation to support her claims.
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the legality of a contract, Plaintiff told Rodríguez that the dates on the contract
looked “fuzzy” and she refused to sign it, Rodríguez then told her “you verify them”
and threw the documents on the desk; Id. at 37-38; and, (3) Rodríguez instructed
Plaintiff that “if [she] had to take work home, that [she] would have to take it.” Id.
at 38. 5
       Regarding Mayor Cortés, Plaintiff proffered testimony that she complained
to him about Rodríguez’s attitude and that he allegedly responded by saying that
he knew she was a member of the NPP and he was not going to attack Rodríguez
because he had proven himself loyal to him and the party (PDP). (See Docket No.
85-1 at 104). Plaintiff also attested that after the Municipality denied her request
for a transfer to a different position, which request was included in her letter of
resignation, Mayor Cortés purportedly told her that he could not assign her that
position “because he needed trustworthy people, and that his trustworthy staff had
to be PDP.” Id. at 79-80. Finally, Plaintiff testified that Mayor Cortés allegedly
suggested that she resign from her position if she did not like it. Id. at 107-108.
       Plaintiff claims that under the circumstances she testified that any
reasonable person in her position would have felt compelled to resign. Here,
Defendants did not offer any evidence to contradict Plaintiff’s testimony.
Considering that Plaintiff may prevail on circumstantial evidence, viewing the
evidence in the light most favorable to Plaintiff, a jury could reasonably find that
Plaintiff’s working conditions became objectively intolerable that she was
compelled to resign. The Court finds that reasonable minds could differ as to
whether the elements of a constructive discharge were met in this case. And,
because the Court cannot properly decide this factual issue without making



       5  It is noteworthy that the above comments and actions were the only ones mentioned by
Plaintiff during her deposition after she was specifically asked by the defense counsel to identify
negative comments and actions by Rodríguez that “evidenced” his alleged negative treatment. As
such, Plaintiff is precluded from testifying at trial as to additional conduct, if any at all, which
Rodríguez purportedly engaged in to support her claims of political discrimination.
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credibility determinations or weighing the evidence, which the Court cannot do at
the summary judgment stage, summary judgment is not appropriate on this
matter. See King v. AC & R Advert., 65 F.3d 764, 767 (9th Cir. 1995) (finding that
whether conditions are so intolerable that a reasonable person would be forced to
resign generally is a question of fact.)
                              b.        Denial of Transfer
       Regarding Plaintiff’s denial of transfer allegations, although not specifically
alleged in the Complaint as an adverse employment action, Plaintiff lodged
allegations that she was denied a transfer. Specifically, in her first letter of
resignation, Plaintiff requested a transfer to a position at a different department,
namely, Federal Funds. The Municipality denied Plaintiff’s request and indicated
that a transfer was not possible because the Municipality was “in the middle of the
transition process of the accounting systems conversion” but that her request may
be considered in the future. (Docket No. 95-7). Plaintiff testified that when she
went to inquire to Mayor Cortés as to why her request was denied, the Mayor
confirmed the above information. Nonetheless, Plaintiff also testified that Mayor
Cortés told her that regarding her desired position, his trustworthy staff had to be
PDP. Further, Plaintiff proffered testimony that after her transfer request was
denied, she decided to submit her resignation from her career position.
       Circuit Courts have held that “the denial of a transfer may constitute an
adverse employment action at the prima facie step of discrimination analysis when
a plaintiff adduces sufficient evidence to permit a reasonable factfinder to conclude
that the sought after position is materially more advantageous than the employee’s
current position, whether because of prestige, modernity, training opportunity, job
security, or some other objective indicator of desirability.” Beyer v. Cty. of Nassau,
524 F.3d 160, 165 (2d Cir. 2008). “A denial of a transfer may also constitute an
adverse employment action, but we require a plaintiff to proffer objective indicia
of material disadvantage; ‘subjective, personal disappointment [ ]’ is not enough.’”
Beyer v. Cty. of Nassau, 524 F.3d at 164 (citing Williams v. R.H. Donnelley Corp.,
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368 F.3d 123, 126, 128 (2d Cir.2004). Objective indicia that the transfer denial
“created a materially significant disadvantage” in the working conditions of the
aggrieved employee is required. Beyer, supra (citing Williams, supra).
       In this case, Plaintiff did not offer an iota of any objective evidence to show
that the position she sought in Federal Funds was available or that it would have
been “objectively better” to the one she previously held. Furthermore, significantly,
Plaintiff claims that the fact that she was not granted the transfer, added to the
negative environment that Rodríguez allegedly created, moved her to resign from
her career position (second resignation). As such, Plaintiff’s own allegations reveal
that her claim of denial of a transfer claims is embedded in her constructive
discharge claim.
       In sum, Plaintiff did not sufficiently plead denial of a transfer as a “separate”
adverse employment action, distinct from her constructive discharge claim.
Nonetheless, her denial of transfer claim was sufficiently pled as part of her
constructive discharge claim.
                              c.        Failure to re-hire
       Several days after Plaintiff submitted her two letters of resignation, she
requested that the Municipality reconsider her decision to resign from her career
position. Essentially, Plaintiff sought re-instatement to her prior career position
because she “rashly submitted [her] resignation from [her] career post as
accounting analyst, against [her] best intentions to serve [her] beloved city of
Aguada.” (Docket No. 95-10). Plaintiff therefore sets forth a failure to re-hire claim
because she was not re-hired by the Municipality for her career position.
       The Municipality denied Plaintiff’s request for reinstatement, indicating
that, regrettably they could not grant her request because her resignation had
already been accepted and “an employee ha[d] already been appointed to carry out
the official duties of the position of Accounting Analyst.” (Docket No. 95-11).
Defendants maintain that after Plaintiff resigned, they accepted her resignation,
performed all internal procedures, and “quickly moved to appoint someone to
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occupy the position and perform the duties and tasks related to the same.” (Docket
No. 84.) The Court must therefore decide whether Plaintiff’s failure to re-hire
claim constitutes an adverse employment action.
       A plaintiff alleging such a claim must show that: (1) she applied for a
particular position; (2) which was vacant; and, (3) for which she was qualified.
Velez v. Janssen Ortho, LLC, 467 F.3d 802, 807–08 (1st Cir. 2006). In addition, she
must show that she was not hired for that position. Id. In Cichon v. Exelon
Generation Co., 401 F.3d 803, 812 (7th Cir.2005), the court applied the generally
accepted standard for retaliatory failure-to-hire claims, but also specified that
plaintiffs making such claims must show that they applied for, and had the
technical qualifications for, the position sought. Id. In Ruggles v. Cal. Polytechnic
State Univ., 797 F.2d 782, 786 (9th Cir.1986), the Ninth Circuit implicitly adopted
the same view, holding that a plaintiff claiming retaliatory failure-to-hire must
“show that the position for which she applied was eliminated or not available to
her because of her protected activities.” 797 F.2d at 786 (emphasis added).
       In this case, Plaintiff satisfies the first prong—that she applied for the
position. In her letter for reconsideration, Plaintiff explicitly indicated that she was
requesting that her resignation from her career position be reconsidered. That can
certainly be interpreted as “re-applying” for her prior job. Plaintiff also satisfies
the third prong—that she was qualified for the position. There can be no dispute
as to the fact that Plaintiff was qualified for the career position of Accounting
Analyst because she held that position prior to resigning.
       Plaintiff’s failure to re-hire claim hinges on the second element—
demonstrating that the position was vacant. It is an uncontested fact that after
Plaintiff submitted her resignation, the Municipality hired an individual to
perform the duties of her prior position. In fact, in the Municipality’s denial of
Plaintiff’s request for reconsideration, the Municipality expressly indicated that
an employee had already been appointed to carry out the official duties of her
career position, which was Accounting Analyst. Plaintiff does not contest this fact.
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To the contrary, she proffered testimony that Josué Jiménez was appointed to her
prior position.
       The uncontested evidence on the record reveals that Plaintiff’s prior career
position was not vacant when the Municipality responded to Plaintiff’s letter of
reconsideration. Nevertheless, that fact alone does not conclude the analysis.
       The Court weighs the fact that Plaintiff proffered testimony indicating that
Josué Jiménez had been hired to replace her and that he was a member of the PDP
(while she was an NPP). While Plaintiff did not offer any extrinsic evidence to
prove—beyond her belief—that Mr. Jiménez was in fact a member of the PDP,
Defendants did not deny that Mr. Jiménez is affiliated with the PDP. The timing
of the Municipality’s actions is also troubling to the Court. Plaintiff presented her
resignation from her career position via letter, dated November 3, 2015, and
requested reconsideration of her decision via letter, dated November 5, 2015. The
Municipality denied Plaintiff’s reconsideration on November 23, 2015. There is no
evidence on the record to answer whether the Municipality had already hired Mr.
Jiménez before November 5, 2015, when Plaintiff submitted her reconsideration,
or whether he was hired after Plaintiff submitted her resignation. The answer to
that question is essential to this analysis.
       Even if the Court assumed, without deciding, that Plaintiff’s prior position
was not available, viewing the evidence in the light most favorable to Plaintiff, and
drawing all inferences against the Defendants, a reasonable fact trier could
conclude that Plaintiff’s prior career position was not available to her because of
her political affiliation. See Ruggles, 797 F.2d at 786. This factual dispute
precludes the Court from determining whether Plaintiff’s failure to re-hire claim,
indeed, constitutes an adverse employment action. This determination must be left
to the province of the jury.
                      3.      Causation
       Finally, as to the fourth element of Plaintiff’s prima facie case, causation,
Plaintiff must show that political discrimination was a substantial or motivating
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factor in the challenged employment actions. Defendants maintain that, even if
comments were made regarding Plaintiff’s political affiliation, which Defendants
deny, “Plaintiff fails to prove any link between that and her employment
conditions.” (Docket No. 84 at 11). Further, Defendants allege that even if they
were to accept that “the workload was substantial and/or that it caused anxiety to
the Plaintiff, the uncontested facts prove that the issue was not caused by any
political discrimination against the Plaintiff.” Id.
       Although there is little direct evidence, if at all, that Defendants’ actions
indeed resulted from political animus, Plaintiff proffered testimony during her
deposition which could lead a reasonable fact trier to conclude that Defendants’
actions were politically motivated. For example, Plaintiff attested that before
Rodríguez knew of her political affiliation, there were no workplace issues, that
the relationship between her and Rodríguez was a stable working relationship,
that Rodríguez was an excellent person who treated her very well, and Plaintiff
considered him to be her friend. (See Docket No. 85-1 at 101-102.) In contrast,
Plaintiff testified that when she revealed to Rodríguez that she had participated
in the 2014 NPP primaries, Rodríguez’ attitude towards her changed in a negative
manner, as the Court has explained in detail above.
       Defendants did not present any extrinsic evidence to contradict Plaintiff’s
testimony of the “negative” or “abusive” environment that she was allegedly
subjected to by Defendants, mainly Rodríguez. Defendants rely primarily on self-
serving excerpts of Plaintiff’s own testimony and the fact that Plaintiff did not
indicate in her letter of resignation that she resigned because of political pressure
or political discrimination. As previously explained, that contention misses the
mark because that alone does not demonstrate a lack of causation.
       Furthermore, Defendants maintain that, at one point during her deposition,
Plaintiff testified that she was not pressured politically into resigning. Plaintiff,
however, attested that she drafted her letter of resignation “under brutal anxiety”
and specified that she “had this anxiety ever since, after the primary, the attitude
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started, they started the attitude against me.” (Docket No. 85-1 at 83). Namely,
after Rodríguez learned of her political affiliation. In addition, when asked by
defense counsel why she resigned from her career position, Plaintiff responded
“because I had too much of a burden; I had a lot of political burden[s], and it was
affecting me a lot. . . .” Id. at 79. The deposition also reveals that Plaintiff testified
that the “health conditions” she referenced in her letter of resignation referred to
her emotional state because “she had a lot of work,” “a lot of pressure” and
Rodríguez’ attitude affected her a lot.” Id. at 76.
       Regarding Mayor Cortés, as noted above, Plaintiff testified during her
deposition that Mayor Cortés indicated to her that he could not grant her a transfer
to the position she sought because, allegedly, he needed trustworthy people, and
that meant individuals affiliated with the PDP, which Plaintiff was not.
       In contrast with the above, Plaintiff also indicated that the only comment of
a political nature that Rodríguez made was when he asked her whether she had
participated in the 2014 NPP primaries and he mentioned that he thought Plaintiff
had switched parties (from NPP to PDP). (Docket No. 85-1 at 39). Aside from that,
it is an uncontested fact that Rodríguez never made any (other) comment to
Plaintiff of a political nature. (See DSUMF #25). Such admission, although not
definitive proof of a lack of political animus, certainly counters Plaintiff’s
allegations of “continuous persecution” by Rodríguez because of political
discrimination. (See Complaint at page 8.)
       Finally, regarding Plaintiff’s resignation, Plaintiff essentially testified at
one point during her deposition that she resigned because of health issues and
anxiety caused by the negative work environment that Rodríguez subjected her to
after he learned of her political affiliation. Notwithstanding that, however,
Plaintiff also testified at another point during her deposition that she was not
pressured politically into resigning. (Docket No. 85-1 at 83).
       The evidence submitted by the Plaintiff, taken together, and viewed in the
light most favorably to the Plaintiff, could lead a reasonable jury to infer that
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Defendants’ actions were politically motivated. Based on the foregoing, whether
political discrimination was a substantial or motivating factor in the challenged
employment actions (constructive discharge and failure to re-hire) is a heavily
contested factual dispute, which bars summary judgment.
       B.      Defendants’ Mt. Healthy Defense
       When, like here, a plaintiff sufficiently establishes a prima facie case,
defendants can offer evidence challenging the claim and must show that “[they]
would have taken the same action regardless of the plaintiff’s political beliefs—
commonly referred to as the Mt. Healthy, infra, defense.” Padilla–García v.
Rodríguez, 212 F.3d 69, 74 (1st Cir.2000). See also Peguero-Moronta v. Santiago,
464 F.3d 29, 45–46 (1st Cir. 2006). As such, a defendant can raise an affirmative
defense specific to this type of case.
       Defendants must “demonstrate that (i) they would have taken the same
[adverse employment] action in any event; and (ii) they would have taken such
action for reasons that are not unconstitutional.” Velez–Rivera v. Agosto–Alicea,
437 F.3d 145, 152 (1st Cir.2006) (citing Mt. Healthy City Sch. Dist. Bd. of Educ. v.
Doyle, 429 U.S. 274, 286-87 (1977). To establish a successful Mt. Healthy defense,
it is the defendants’ responsibility to persuade the factfinder that they would have
made the same decision even if the illegitimate reason had not been a factor. See
Welch v. Ciampa, 542 F.3d 927, 941 (1st Cir.2008); Padilla–García, 212 F.3d at
77–78. If the defendant makes such a showing, the plaintiff may attempt to
discredit   the    tendered     nondiscriminatory   reason   with   either   direct   or
circumstantial evidence, by adducing evidence that discrimination was more likely
than not a motivating factor. Velez–Rivera, supra at 153.
       Having discussed the legal framework, the Court now turns to the
Defendants’ Mt. Healthy defense in this case. The key inquiry at summary
judgment is whether Defendants can show—with all reasonable inferences drawn
in Plaintiff’s favor—that they had a lawful reason for the alleged adverse
employment actions (constructive discharge and failure to re-hire) and that they
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would have used that lawful reason for such adverse employment actions
regardless of Plaintiff’s political affiliation and that there is no genuine dispute of
material fact on these issues. See Reyes-Orta v. Puerto Rico Highway & Transp.
Auth., 811 F.3d 67, 77 (1st Cir. 2016).
       Defendants maintain that Plaintiff failed to present sufficient factual
evidence to conclude that she was forced to resign from her employment because
of political discrimination. Regarding Plaintiff’s constructive discharge claim,
Defendants’ rely heavily on their contention that Plaintiff decided to freely and
voluntarily resign from her two positions at the Municipality for health issues and
reasons unrelated to any political discrimination. Regarding Plaintiff’s failure to
re-hire claim, Defendants allege that the Municipality had no legal obligation to
re-employ her after she resigned. And, that, after she resigned, the Municipality
took immediate action and the appropriate steps to appoint someone to perform
the duties of Plaintiff’s prior position because of the importance of the position.
       Nonetheless, as thoroughly discussed above, as to the constructive discharge
claim, Plaintiff proffered testimony that she resigned from her positions at the
Municipality “because [she] had too much of a burden; [she] had a lot of political
burden, and it was affecting [her] a lot. . . .” (Docket No. 85-1 at 79). Plaintiff
further attested that the “health conditions” that she referred to in her letter of
resignation were indeed emotional conditions caused by Defendants’ conduct and
that she was “forced” to resign because of the negative treatment that Defendants,
mainly Rodríguez, purportedly subjected her to after they learned of her political
affiliation.
       Regarding Plaintiff’s failure to re-hire claim, the only evidence that
Defendants presented to challenge Plaintiff’s failure to re-hire claim is the
Municipality’s answer to Plaintiff’s letter for reconsideration. Allegedly, the
Municipality denied Plaintiff’s request for reconsideration to be re-employed
following her resignation because the Municipality had already accepted her
resignation and had appointed an individual to her prior position. (Docket No. 95-
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11). Defendants also made a proffer of their legitimate and non-discriminatory
reason for not re-hiring the Plaintiff—that the nature of Plaintiff’s prior position
“required” the Municipality to act quickly after Plaintiff resigned and appoint
someone to perform Plaintiff’s prior duties. (Docket No. 84-3). That proffer however
was not substantiated by any evidence. Id.
       A review of Defendants’ Motion for Summary Judgment reveals that
Defendants’ Mt. Healthy defense is barely alleged. (Docket No. 84). Defendants
discussed the applicable case law; however, they did not adduce sufficient
uncontested evidence to uphold the defense. Even assuming without deciding that
Defendants had a lawful reason for the alleged illegal employment actions against
Plaintiff (either because she voluntarily resigned for health reasons unrelated to
any type of political discrimination or because the Municipality would have
rejected her request for reconsideration in any event), the evidence on the record
is sufficient to create a triable factual dispute as to whether Defendants would
have taken the alleged illegal actions against the Plaintiff, regardless of her
political   affiliation. The      evidence    submitted by        the    Plaintiff, although
circumstantial, when taken together, and viewed in the light most favorably to her,
could lead a reasonable jury to infer that discrimination was more likely than not
a motivating factor. See Velez–Rivera, supra at 153. 6
       Accordingly, Defendants did not make the requisite showing to establish a
successful Mt. Healthy defense at this stage. The defense can of course be re-
visited, if necessary, after trial.
       C.      Qualified Immunity
       Co-defendants Mayor Cortés and Rodríguez, appearing in their individual
capacity, maintain that they are entitled to qualified immunity (Docket No. 87).
Qualified immunity is an affirmative defense that operates as a shield against


       6 See Padilla-García v. Rodriguez, 212 F.3d 69, 78 (1st Cir. 2000) (“The evidence by which

the plaintiff established her prima facie case may suffice for a factfinder to infer that the
defendant’s reason is pretextual and to effectively check summary judgment”).
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unwarranted charges that the official violated the Constitution in the course of
performing the functions of the office. Garnier v. Rodríguez, 506 F.3d 22, 26 (1st
Cir. 2007) (internal citation omitted). Such defense provides a “safe harbor for
public officials acting under the color of state law who would otherwise be liable
under 42 U.S.C. Sec. 1983 for infringing the constitutional rights of private
parties.” Borges Colón v. Román-Abreu, 438 F.3d 1, 18 (1st Cir.2006).
       Whether defendants are entitled to qualified immunity calls for a two-part
analysis. See Ford v. Bender, 768 F.3d 15, 23 (1st Cir. 2014) (citing, Haley v. City
of Boston, 657 F.3d 39, 47 (1st Cir. 2011)). First, the court must determine whether
the facts, taken most favorably to the party opposing summary judgment, make
out a constitutional violation. Ford, 768 F.3d at 23. Second, the court needs to
assess whether the violated right was clearly established at the time that the
offending conduct occurred. Id. The “clearly established” element encompasses two
questions: (1) whether the contours of the right, in general, were sufficiently clear;
and (2) whether, under the specific facts of the case, a reasonable defendant would
have understood that he was violating the right. Id. (citing Maldonado v. Fontanes,
568 F.3d 263, 269 (1st Cir. 2009)).
       Whether qualified immunity applies turns on the objective reasonableness
of defendants’ actions in the challenged adverse employment actions. Basically,
Mayor Cortés and Rodríguez argue that Plaintiff failed to establish a violation of
her constitutional rights because: (1) at one point during her deposition she
indicated that she resigned from her position of Interim Accounting Supervisor
after not being granted her request to be transferred to the Federal Funds Division;
(2) Plaintiff only mentioned health issues as the reason for her resignation;
(3) Plaintiff admitted during her deposition that she resigned out of anxiety;
(4) Plaintiff did not mention political discrimination in her letter of resignation or
in her letter of reconsideration after she had resigned; and (5) Plaintiff testified
during her deposition that she is aware that the Municipality had no obligation to
rescind or take back her resignation. (See Docket No. 87).
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       In short, Mayor Cortés and Rodríguez allege that Plaintiff failed to establish
a First Amendment claim of political discrimination. Therefore, they claim that
Plaintiff did not establish a deprivation of her constitutional rights and, as such,
they are entitled to qualified immunity and all claims against them should be
dismissed.
       As previously held by the Court, however, there are significant material
facts in dispute that must be left to the fact-trier’s province, which preclude the
Court from determining whether qualified immunity applies to Mayor Cortés and
Rodríguez. Specifically, factual disputes as to whether Plaintiff indeed suffered an
adverse employment action and whether her political affiliation was a substantial
or motivating factor in the adverse employment actions alleged. The First Circuit
has held that when only a fact finder’s determination of the conflicting evidence as
to the underlying historical facts will permit resolution of the qualified immunity
issue, summary judgment ceases to be an appropriate vehicle. Prokey v. Watkins,
942 F.2d 67, 73 (1st Cir. 1991). See also Maldonado, 568 F.3d at 269; Kelley v.
LaForce, 288 F.3d 1, 7 (1st Cir. 2002); Swain v. Spinney, 117 F.3d 1, 9 (1st Cir.
1997) (noting that “[t]his prong of the inquiry, while requiring a legal
determination, is highly fact specific, and may not be resolved on a motion for
summary judgment when material facts are substantially in dispute.”)
       Thus, the Court is impeded at this stage from determining whether Mayor
Cortés and Rodríguez are entitled to qualified immunity. Consequently, such co-
defendants’ request to dismiss the case against them on qualified immunity
grounds must be DENIED without prejudice.
       IV.     Conclusion
       For the above-mentioned reasons, Defendants’ “Motion for Summary
Judgment” (Docket No. 84) is DENIED and co-defendants Mayor Cortés’ and
Rodríguez’ “Motion Joining Municipality’s Motions for Summary Judgment and
Supplementing for Qualified Immunity Purposes” (Docket No. 87) is also
DENIED.
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       IT IS SO ORDERED.
       In San Juan, Puerto Rico, this 14th day of January 2019.

                                           s/ Marshal D. Morgan
                                           MARSHAL D. MORGAN
                                           UNITED STATES MAGISTRATE JUDGE
